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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                        DistrictDistrict
                                                   __________    of Columbia
                                                                         of __________

                  United States of America                          )
                             v.                                     )
                       Matthew Perna
                                                                    )      Case No.
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  January 6, 2021                in the county of                                          in the
                       District of          Columbia            , the defendant(s) violated:

            Code Section                                                      Offense Description

18 U.S.C. 1752 (a)(1) and (2)                     - Knowingly Entering or Remaining in any Restricted Building or Grounds
                                                  Without Lawful Authority

40 U.S.C. § 5104(e)(2)(D) and (G)                 - Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         ’


                                                                                               Complainant’s signature

                                                                                        Anthony Farrar , Special Agent
                                                                                                Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone (specify reliable electronic means).                          Robin M.                              Digitally signed by Robin M.
                                                                                                              Meriweather
Date:             01/18/2021                                                     Meriweather                  Date: 2021.01.18 15:52:48 -05'00'

                                                                                                  Judge’s signature
                                                                                           Robin M. Meriweather
City and state:                         Washington, DC                                  United States Magistrate Judge
                                                                                                Printed name and title



        Print                        Save As...                  Attach                                                      Reset
